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United States District Court

 

 

 

for the
District of TLeolno
Division
Andrianumearisata Artem Case No.
Plaintiff
Vv Jury Trial: V No Yes
Gem State Staffing U.S. COURTS
Idaho Milk Products
DEC 01 2020

idaho Human Rights Commission aevd Elled Tine

STEPHEN W. KENYON

Defendants CLERK, DISTRICT OF IDAHO

 

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Complaint.
VIOLATION OF CONSTITUTINAL RIGHTS.

]. The Parties to This Complaint.
A, The Plaintiff
Name: Artem Andrianumearisata
Street Address: 235 Camarillo Way
City and County: Twin Falls
State and Zip Code: Idaho, 83301
Telephone Number: (208) 733-9378
E-mail Address: timofficeemail@yahoo.com
B. The Defendant(s)
Defendant No. 14
Name: Gem State Staffing
Job or Title: Staffing
Street Address: 4647 E185 N
City and County: Rigby
State and Zip Code: Idaho, 83442
Defendant No. 2
Name: Idaho Milk Products
Job or Title:
Street Address: 2249 South tiger Dr.
City and County: Jerome

State and Zip Code: Idaho, 83338

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Defendant No. 3
Name: Idaho Human Rights Commission
Job or Tile: Human Rights Commission
Street Address: 317 W. Main Street
City and County: Boise, Ada
State and Zip Code: Idaho, 83735

ll. Jurisdiction

1. In pursuance of Constitutional statutes the plaintiff states the
jurisdiction of the United States‘ court .

2. Plaintiff states the notice of rights to sue from U.S. Equal Employment
Opportunity Commission, in connection to the decision of Idaho Human
Rights Commission finding on a customs of the Gem State Staffing’s policy.

A. The Constitutional statutes violated:

AMENDMENT 1
“abridging ...the right...to assemble...a redress... "
AMENDMENT 4
“particularly describing the place ...and the persons... "

AMENDMENT 9

"The enumeration in the Constitution, of certain rights, shall

not be construed to deny ... others retained by the people."
AMENDMENT 10

"The powers not delegated to the United States by the Constitution ...

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AMENDMENT 13
“Neither slavery nor involuntary servitude...shall exist ..."
AMENDMENT 14, Section 1:
"any person...equal protection of the laws."
AMENDMENT 14, Section 4:
"assume... obligations..."
ARTICLE Ill, Section 2:

",..to controversies to which United States shall be a party ... [and between a
State...and... Subjects.]"

ill. Statement

On the grounds of appea! to a federal jurisdiction vested in the federal district court
of the United States ,! allege my Constitutional rights were violated, and the
following events by count had factual violations to those rights:

AMENDMENT 14, Section 4: ",.assume...obligations..."

and/or

AMENDMENT 13: “Neither slavery nor involuntary servitude ...shall exist..."

and/or

AMENDMENT 10: " The powers not delegated to the United States by the

Constitution...”

Count i} On September 20, 2017 | was obligated by the Gem State Staffing (GSS)

to volunteer, based on my necessity to live through employment, for the

boundaries which constitute violation tomy liberties, by signing

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the policy (Citation B) including but not limited to:

"GEM STATE STAFFING RULES & REGULATIOS... tasks with or without reasonable
accommodation... CLAIMS AGAINST GEM STATE STAFFING CUSTOMERS ...
forever discharge any claim... against any customer of the Company...
DISPUTE RESOLUTION ... any disputes...including any claims of discrimination,
harassment ... to be resolves by arbitration as ... sole remedy. The American
Arbitration Association shall conduct the arbitration .... EMPLOYMENT
VERIFICATION AUTHORIZATION...Gem State Staffing, or any representative...to
contact ... present and past employer(s) for the purpose of confirming ...length of
employment, wages and other relevant data.” which:

1) abridges the right of equal applicability

2) abridges the right of a redress

3) abridges the rights of search and seizure ,

4) abridges the right against disparagement

5) delegates the powers prohibited by the United States

6) assumes illegal obligations

AMENDMENT 14, Section 1: "...any person...equal protection of the laws."

Count i) The Gem State Staffing (GSS) assigned me to work at Idaho
Milk Products (IMP) in the 2nd week ofJuly 2019 from Friday
the 12thto Saturday 14th. My employment was restrained by the

derogatory attacks of the racial slurs at multiple times.

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Count ii) On Monday July the 15th 2019 after | reported a request to be
assigned where equal employment opportunity is affirmed, the GSS

sent me back to the IMP.

Count iii) And again! was threatened with derogatory attacks of ethnic slurs

on July the 17th 2019 as | returned to work.

Count iv) One of the persons who was shouting the derogatory threats,
confirmed screaming it in the presence of the manager of

IMP, but was notordered from the IMP’s employment as! was.

Count iv) GSS' policy is denying the right of appealing to a jurisdiction
other than American Arbitration Association: if defendant was
able to choose a place of a resolution for disputes against
themselves, | shall not be denied the same . Provided, the ARTICLE Il,

ft

Section 2: “... to controversies to which United States shall be
a party ... [and between a State...and...Subjects.]" is within the Section
1 of the 14 AMENDMENT " All persons...and subject to the
jurisdiction...of the State wherein they reside... nor deny...within its

jurisdiction the equal protection of the laws ".

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AMENDMENT 9: “The enumeration in the Constitution, of certain rights,
shall not be construed to deny ... others retained by the people."

Count i) The decision of the Idaho Humane Rights Commission, not finding a
probable cause, which was based on the State’s law (Citation C)
Title 67 "STATE GOVERNMENT AND STATE AFFAIRS", Chapter 59
"COMMISSION ON HUMAN RIGHTS", 67-5909, not expressly discerning

the accordance to act:

"67-5909. ... (1) Foran employer to fail or refuse to hire, to discharge,
or to otherwise discriminate..." by which a term fundamentally

incapable to remain as "... refuse...to otherwise discriminate..." is
not prohibited from applicability, also present in "67-5909. (2) For
an employment agency to fail or refuse to refer for employment,
or otherwise to discriminate..." and further enlargement evident
in "67-5909. (3)(c)(4)...; but a notice or advertisement may indicate

.. discrimination...",

when it is expressly delegated that equalityis the right retained among
liberties of independence, suggesting failure to establish rectitude of those
rights certain in necessity.

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AMENDMENT 4: ".,.particularly describing the place ...and the persons... "

supports affirmation to all establishments of the equal employment
opportunities, yet was denied because of a stage of GSS' policy
abridging the right of employees to complain on the Company's clients:

Count _ i)
Count ii)
Count iii)
Count iv)

On July 17th 2019 the GSS management stated they could
not write a complaint on the clients to which | was assigned to
work, but the only remedy against derogatory treatment is not

sending the employees to the same work place.

i have initiated a complaint to the Idaho Human Rights Commission
on July 18th 2019, and about August 1st of 2019, when speaking
on the phone with one of their employees, was advised that | could
not file a complaint to actual employer of the person or the

person who was violating the equal employment opportunity

standards because of GSS' policies.

On August the 2nd 2019, | asked the GSS' management to provide
the name of the person whoshouted derogatory threats and
the company he worked for, to make a complaint myseif, she
stated again thatsheis not ableto file a complaint on their clients

because of the policies of the GSS.

The decision of Idaho Human Rights Commission, on May 1st

2020, not finding a probable cause.

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AMENDMENT 1: “abridging ...the right...to assemble...a redress "

Count i) On July 17th 2019 the GSS management stated | could not request

them to make a complaint to their clients or client's employees.

Count ii) When speaking with Idaho Human Rights Commission’s employees,
| was denied a right to file a complaint on the GSS' client's

employee, because of the GSS' policy.

Count iii) | have asked on August 2nd 2019 the GSS to provide me with
the full name of the employee who shouted racial slurs and the
company of his employment, to make a complaint myself, but was

denied again because of the GSS' policy.

IV. Relief

|, Artem Andrianumearisata, the plaintiff of this complaint, hold the court to
dissolve the boundaries of suffering , | allege , according to the report of rebuttal
from GSS , where the defendant refusing to submit to the authority of civil rights,
and from the decision of the Idaho Human Rights Commission, not finding a
probable cause, the practice is continuous. | pursue a judgment to find such
practice and destructive legislative properties unconstitutional. It inflicted
inestimable damaging affect to my moral cognition as a resident abridged and
denied of civil rights, under the United States which provides equality certain
among any person subject to the jurisdiction.

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V. Signature

By signing below, | certify to the best of my knowledge, that information in this
complaint is true.

Date of signing: Decowlven A \ COCO

Signature of Plaintiff: OW —

Printed Name of Plaintiff: Andrianumearisata Artem

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